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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


COAST TO COAST TITLE, LLC, SOL      §
CITY TITLE, LLC, MAGNOLIA TITLE     §
ARKANSAS, LTD., MAGNOLIA TITLE      §
FLORIDA, LLC, THE PEABODY BULLDOG,  §
LLC, AND JOHN MAGNESS               §
                                    §
     Plaintiffs                     §
                                    §
v.                                  §                       CIVIL ACTION NO.: 4:24-cv-02767
                                    §
TYRELL L. GARTH, PHILLIP H.         §
CLAYTON, DEBBIE MERRITT A/K/A       §
DEBORAH MERRITT, MATTHEW D. HILL,   §
CHARLES BURNS, P. GARRETT CLAYTON, §
SCOTT M. REEVES, ARIANE E. YOUNG,   §
TINGLEMERRITT, LLP, STARREX TITLE   §
FLORIDA, LLC, LAURIE COOPER,        §
MARKETSTREET CAPITAL PARTNERS, LLC, §
MARKETSTREET CAPITAL PARTNERS AR, §
LLC AND BRIAN A. BREWER             §
                                    §
     Defendants.                    §

                                INDEX OF MATTERS FILED

       The following matters, which are attached as exhibits to Defendant Tyrrell L. Garth’s

Notice of Removal, have been filed in the above-referenced cause of action:

           •   Exhibit A – The Index of Matters Being Filed;

           •   Exhibit B – Plaintiffs’ Original Petition;

           •   Exhibit C – Defendants Starrex Title Florida, LLC, Marketstreet Capital Partners,
                           LLC, Marketstreet Capital Partners AR, LLC and Brian A. Brewer’s
                           Original Answer;

           •   Exhibit D – Defendant Laurie Cooper’s Special Appearance Motion to Challenge
                          Jurisdiction;
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      •   Exhibit E – Defendant Laurie Cooper’s Original Answer (Subject to Special
                      Appearance);

      •   Exhibit F – Defendants Starrex Title Florida, LLC, Marketstreet Capital Partners,
                      LLC, Marketstreet Capital Partners AR, LLC and Brian A. Brewer’s
                      First Amended Original Answer;

      •   Exhibit G – Defendant Tyrrell L. Garth’s Original Answer;

      •   Exhibit H - State Court’s Docket Sheet; and

      •   Exhibit I – List of All Counsel of Record.




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